a   Case 1:21-cv-00020-MN Document 2 Filed 09/23/20 Page 1 of 13 PageID #: 66
        Case 1:20-cv-02773-RDB Document 1-2 Filed 09/23/20   Page
                                                       E-FILED;    1 of 13County Circuit Court
                                                                Baltimore
                                                     Docket: 8/3/2020 12:56 PM; Submission: 8/3/2020 12:56 PM



    NOVA SERVICES INC.,                    *         IN THE
    A Maryland Corporation
    2500 Grays Road                        *         CIRCUIT COURT
    Dundalk, Maryland 21222
                                           *         FOR
                  Plaintiff,
                                           *         BALTIMORE COUNTY

    v.                                     *
                                                                 C-03-CV-20-002957
    RECLEIM NOVA, LLC,                     *         Case Number:
    A Delaware Limited Liability Company
    34 Old Ivy Road, Suite 200             *
    Atlanta, Georgia 30342
                                           *
    Serve on Resident Agent:
    The Corporation Trust Incorporated     *
    2405 York Road, Ste. 201
    Timonium, Maryland 21093               *         COMPLAINT

    and                                    *


    RECLEIM, LLC,                          *
    A Delaware Limited Liability Company
    34 Old Ivy Road, Suite 200             *
    Atlanta, Georgia 30342
                                           *
    Serve on Resident Agent:
    The Corporation Trust Incorporated     *
    2405 York Road, Ste. 201
    Timonium, Maryland 21093               *


    and                                    *


    BLUE GRANITE LOGISTICS, LLC,           *
    A Delaware Limited Liability Company
    125 Marshall Street                    *
    Graniteville, South Carolina 29223
                                           *
    Serve on Resident Agent:
    CT Corporation System                  *
    2 Office Park Court, Suite 103
    Columbia, South Carolina 29223         *


    and                                    *




                                               -1-
   !;
              Case
        - ■. j^s  1:21-cv-00020-MN Document 2 Filed 09/23/20 Page 2 of 13 PageID #: 67
■v t              Case 1:20-cv-02773-RDB Document 1-2 Filed 09/23/20 Page 2 of 13




           LL SEA INVESTMENTS, LLC,                       *
           A Georgia Limited Liability Company
           34 Old Ivy Road, Suite 200                     *
           Atlanta, Georgia 30342
                                                          *
           Serve on Resident Agent:
           Pete Davis                                     *
           34 Old Ivy Road, Suite 200
           Atlanta, Georgia 30342                         *


                           Defendants.                    *



           *         *     *      *       *        *      *         *   *       *       *      *       *

                                                       COMPLAINT

                     NOVA SERVICES INC., Plaintiff, by its attorneys, Michael Paul Smith, Stephen J.

           Nolan, Carmelo D. Morabito and Smith, Gildea & Schmidt, LLC, sues the Defendants,

           RECLEIM NOVA, LLC, a Delaware Limited Liability Company, RECLEIM, LLC, a Delaware

           Limited Liability Company, BLUE GRANITE LOGISTICS, LLC, a Delaware Limited Liability

           Company, and LL SEA INVESTMENTS, LLC, a Georgia Limited Liability Company, on the

           following causes of action.        On this same date, Plaintiff is filing a Request for Writ of

           Attachment Before Judgment and a supporting Affidavit, in accordance with the provisions of

           Maryland Rule 2-115 and Md. Ann. Code, Courts and Judicial Proceedings Article (“CJ”) §3-

           303(e). l

                                                       Introduction

                     1.    In addition to the breach of contract and fraud action pled below, Plaintiff Nova

           Services Inc. (sometimes “Nova Services” or “Creditor”) seeks legal and equitable relief against

           the Defendants, which have acted in concert to defraud Nova Services by engaging in fraudulent

           i
            See Exhibit A to Request for Writ of Attachment Before Judgment, i.e. Affidavit of Guy T.
           Naylor, Nova Services Inc.’ President and a former employee of Defendant Recleim Nova, LLC.
           All cites are references to numbered paragraphs of Mr. Naylor’s Affidavit dated July 31, 2020.

                                                              -2-
Case 1:21-cv-00020-MN Document 2 Filed 09/23/20 Page 3 of 13 PageID #: 68
    Case 1:20-cv-02773-RDB Document 1-2 Filed 09/23/20 Page 3 of 13




conveyances in violation of the Maryland Uniform Fraudulent Conveyance Act, Md. Ann. Code

Commercial Law Article (“CL”) §15-201 et seq.

       2.       Since at least December 31, 2019, Defendant Recleim Nova, LLC (“Recleim

 Nova”), a Delaware limited liability company with its principal offices at 34 Old Ivy Road,

 Suite 200, Atlanta, Georgia, has owed and it still owes Nova Services the sum of $3,449,567.71,

 pursuant to a certain Asset Purchase Agreement (“APA”) described below. | 17. The APA was

 entered into by Nova Services, Recleim Nova, and its parent, Recleim LLC (“Recleim”), a

 Delaware limited liability company also with its principal offices at 34 Old Ivy Road, Suite 200,

 Atlanta, Georgia, effective as of May 5, 2017. Id.

       3.      Since about February of this year, Defendant Recleim Nova has assigned,

conveyed, and in some instances removed from the State of Maryland, valuable assets with the

intent and effect of rendering Recleim Nova insolvent so as to defraud its creditors, including

Nova Services. ^f| 18, 21. This Court’s issuance of a writ of attachment before judgment will

prevent the Defendants from continuing to assign, dispose of, conceal or remove out of state

additional assets belonging to the Debtor, Recleim Nova, in furtherance of Defendants’ actions

to defraud Plaintiff Nova Services. 25.

                                     Jurisdiction and Venue

       4.      Pursuant to Md. Code Ann., Cts. & Jud. Proc. § 6-103(b)(3) and (b)(4), this Court

may exercise personal jurisdiction over the Defendants because they are persons who directly

caused tortious injuries to the Plaintiff in Maryland by acts and omission in and outside this

State. Throughout all relevant times, Defendants Recleim Nova and Recleim have regularly

done or solicited business in Maryland, engaged in other persistent conduct in Maryland,

including, but not limited to, operating an appliance recycling business in Maryland, and they




                                                -3-
               Case 1:21-cv-00020-MN Document 2 Filed 09/23/20 Page 4 of 13 PageID #: 69
                   Case 1:20-cv-02773-RDB Document 1-2 Filed 09/23/20 Page 4 of 13
         ‘ t
V •'
       - !




               have derived substantial revenue from goods and services used in Maryland.

                       5.     Pursuant to Cts. & Jud. Proc. §§ 6-201(a) and 6-202(9), venue is proper in

               Baltimore County, Maryland, because Defendant Recleim Nova regularly does business in

               Baltimore'County and the property which is the subject of the fraudulent conveyance action and

               the attachment before judgment are located in Baltimore County, Maryland.

                                             Statement of Facts Common To All Counts

                       6.     On October 30, 2000, Guy Naylor formed Nova Services Inc. (“Nova Services”),

               a Maryland corporation in good standing, with its principal office located at 2500 Grays Road,

               Dundalk, Maryland 21222. Mr. Naylor owns 100% of the stock of Nova Services, f 2. Over the

               next 17 years, Nova Services grew into a multi-million dollar appliance recovery and recycling

               business with customers such as Lowe’s Home Centers, LLC, BGE Home and other major

               retailers who sell refrigerators, freezers and other household appliances.

                       7.     On June 17, 2016, Plaintiff Nova Services received a proposal from Recleim to

               purchase substantially all of Nova Services’ assets. Recleim then had, and it continues to operate,

               its “flagship” plant in Graniteville, South Carolina. Recleim’s website states that it “provides

               collection, transportation, demanufacturing2 and resource recovery services for end-of-life

               appliances and converts the appliances and other items into commodities such as plastic,

               aluminum, copper, steel and pelletized foam, which are then sold for reuse.”

                       8.     Recleim’s offered purchase price was based on its assessment that Nova Services’

                business had an “Enterprise Value” of $7,000,000.00. f 5.

                       9.     On October 7, 2016, Recleim caused Recleim Nova to register to do business in

               the state of Maryland. ^[6.


               2 Demanufacturing refers to a process by which consumer appliances and electronics are
               dismantled and valuable materials are recovered in an environmentally sound manner.

                                                               -4-
     Case 1:21-cv-00020-MN Document 2 Filed 09/23/20 Page 5 of 13 PageID #: 70
H        Case 1:20-cv-02773-RDB Document 1-2 Filed 09/23/20 Page 5 of 13




            10.    Negotiations relating to the acquisition terms and Recleim’s due diligence process

    culminated in the execution of the APA described above.

            11.    As part of the transaction, Mr. Naylor entered into an Employment Agreement

    dated as of May 5, 2017, to work in the position of General Manager of Recleim Nova’s

    Dundalk, Maryland operations. ]f 8. Mr. Naylor held that position until his employment was

    constructively terminated on May 5, 2020. Id.

            12.    From May 5, 2017, until March 28, 2018, Recleim and Recleim Nova performed

    the terms of the APA.

            13.    However, on April 3, 2018 and in accordance with the terms of the APA, Mr.

    Naylor sent a letter, as President of Nova Services, to the attention of Pete Davis, the managing

    principal of Recleim Nova.     10. Mr. Davis is also the managing principal of a private equity

     investment firm known as Peachtree Investments Solutions, LLC (“Peachtree”), which he

    formed in 2008 to advise businesses, raise money for “tax-advantaged” investments and acquire

    the assets of companies like Nova Services. In fact, following its purchase of Nova Services’

    Dundalk-based business, Recleim and Mr. Davis orchestrated leveraged buyouts of recycling

    plants in Philadelphia, Pennsylvania and Lima, Ohio.

            14.    Nova Services’ April 3, 2018 letter notified Recleim Nova that it had breached the

     APA and it requested that Recleim Nova cure its breach. Upon receiving the letter, Mr. Davis

     complained to Mr. Naylor that he had sent the formal notice of default as required by the terms

     of the APA. Mr. Davis assured Mr. Naylor that he would take such actions as would be

     necessary for Recleim Nova to cure its breach and fulfill its obligations under the APA.   11. In

     fact, Recleim did not cure its breach of the APA.

            15.    Despite Nova Services’ repeated requests for audited financial statements as




                                                    -5-
     Case 1:21-cv-00020-MN Document 2 Filed 09/23/20 Page 6 of 13 PageID #: 71
-1
         Case 1:20-cv-02773-RDB Document 1-2 Filed 09/23/20 Page 6 of 13




     required by the APA, neither Recleim Nova nor Mr. Davis delivered on their assurances to

     provide the same. Instead, Mr. Naylor discovered that Recleim had misallocated expenses

     relating to the operations of its Philadelphia and other facilities to Recleim Nova, f 12. By

     manipulating Recleim Nova’s books and overburdening it with improper expenses, Recleim and

     Mr. Davis reduced Recleim Nova’s net revenues and impaired its ability to pay the over $3.4

     million balance of the purchase price due to Nova Services. Id.

             16.    Recleim and Recleim Nova breached the APA in other respects, including, but not

     limited to, failing to pay certain liabilities Recleim Nova had assumed under the APA and other

     debts incurred by Recleim Nova unrelated to Nova Services. As a direct result of Recleim

     Nova’s default and failure to pay its bills, its creditors began suing Nova Services to collect debts

     owed by Recleim Nova, f 13.

             17.    On or about September 16, 2019, Whit’s Corporation sued Recleim Nova and

     Nova Services for $68,930.00 in the Circuit Court of St. Louis County, Missouri (Case no. 19SL-

     CC04053) for goods and services Whit’s Corporation provided to Recleim Nova. ^ 14. Mr.

     Davis promised to defend Nova Services and pay the debt; however, that did not occur and

     Recleim Nova’s failure to defend the suit caused judgment to be entered in that case against

     Nova Services for $68,930.00. Id.

             18.    On December 17, 2019, as a direct result of Recleim Nova’s failure to timely pay

     $59,316.46 owed to Abrava Way, Inc., Nova Services was named as a co-defendant in a trespass

     and non-payment of rent action brought by Abrava Way, Inc. in the District Court of Providence

     Plantations, Rhode Island (Civil Action No. 3CA-2019-12455). f 15. Once again, Mr. Naylor

     complained to Pete Davis that Recleim and Recleim Nova were destroying Mr. Naylor’s good

     credit history and Nova Services’ good credit standing. Id.




                                                      -6-
    Case 1:21-cv-00020-MN Document 2 Filed 09/23/20 Page 7 of 13 PageID #: 72
        Case 1:20-cv-02773-RDB Document 1-2 Filed 09/23/20 Page 7 of 13




         19.   During the period from at least July 2019 through and including the date of this

Affidavit, Recleim Nova has caused Nova Services to be billed and dunned due to Recleim

Nova’s failure to pay its debts as they come due, including, but not limited to, $1,309.95 which

was owed to M & G Materials Handling Co. of East Providence, R.I. as of July 2, 2019; $522.31

which was owed to Service Tire Truck Centers of Bethlehem, PA. as of December 5, 2019;

$1,652.00 which was owed to Pinnacle Heating & Air Conditioning, Inc. as of December 31,

2019; $13,466.40 which was owed to McClung-Logan Equipment Co. of Baltimore, MD. as of

January 17, 2020; $534.29which was owed to Cox Business for services provided to Recleim

Nova at its Lincoln, R.I. facility; and $1,214.70 and $4,609.03 which amounts were owed to BG

& E for services provided to Recleim Nova under two separate accounts, f 16. Plaintiff Nova

Services had no legal responsibility for any of the foregoing billings. Id.

         20.   On more than one occasion in 2020, Mr. Davis has spoken about transferring

some of Recleim Nova’s assets to a company called “Blue Granite.” ^ 18. Mr. Naylor told Mr.

Davis that it was not proper to gradually strip Recleim Nova of its assets. Id.

         21.   On or about July 27, 2020, Mr. Naylor discovered that on February 3, 2020, Mr.

Davis caused Blue Granite Logistics, LLC (“Blue Granite”) to be formed as a Delaware limited

liability company. ^ 19. On February 7, 2020, Mr. Davis signed and filed an application with the

South Carolina Secretary of State for a Certificate of Authority for Blue Granite to transact

business in South Carolina. (see “Exhibit 1” attached to Mr. Naylor’s Affidavit3). Id. Recleim

and Blue Granite have facilities and/or offices in Graniteville, South Carolina. Defendant LL Sea

Investments LLC (“LL Sea”) is identified on Mr. Davis’ Application as the manager of Blue

Granite, with the same address of Recleim, Recleim Nova and Peachtree, that is 34 Old Ivy Road

3 Copy of Application For A Certificate of Authority for Blue Granite Logistics, LLC, certified
by Secretary of State of South Carolina.

                                                 -7-
 Case 1:21-cv-00020-MN Document 2 Filed 09/23/20 Page 8 of 13 PageID #: 73
     Case 1:20-cv-02773-RDB Document 1-2 Filed 09/23/20 Page 8 of 13




NE, Suite 200, Atlanta, Georgia. See p. 2 of Exhibit 1 to Mr. Naylor’s Affidavit, which is attached

as Exhibit A to Plaintiffs Request for an Order directing the issuance of a writ of attachment

before judgment against the Defendants.

        22.     On May 5, 2020, Mr. Naylor, as President of Nova Services, sent a notice of

 breach letter to Recleim Nova and Mr. Davis, (see “Exhibit 2” attached to Mr. Naylor’s

 Affidavit). | 20. Among other breaches of the APA described in the notice letter was Recleim’s

 failure to satisfy liabilities arising from Recleim Nova’s business operations, including the court

 cases described in paragraphs 17 and 18 above. Id. Nova Services’ letter warned Recleim Nova

 and Mr. Davis that any transfer or encumbrance of assets would likely render Recleim Nova

 insolvent and any such transactions would constitute a violation of the Uniform Fraudulent

 Transfer Act. Id.

        23.     Since sending Nova Services’ May 5, 2020 notice of breach, Nova Services’

 President, Mr. Naylor, discovered that Mr. Davis caused Recleim Nova to assign, convey and/or

 remove from the State of Maryland valuable assets with the intent and effect of rendering

Recleim Nova insolvent so as to defraud its creditors, including Nova Services. | 21. As of July

 31, 2020, Recleim Nova has already removed assets from the State of Maryland to Recleim’s

Philadelphia, Pennsylvania facility, including at least 20 van trailers (both 48 foot trailers and 53

foot trailers), each of which has a value of approximately $2,000.00. Id. At the time, Recleim

Nova conveyed and/or removed those assets, it was and continues to be insolvent.

        24.     On July 2, 2020, Nova Services’ attorneys, Smith, Gildea & Schmidt, LLC, sent a

 notice of default letter to Recleim Nova and Mr. Davis concerning Recleim Nova’s breach of the

APA. (see “Exhibit 3” attached to Mr. Naylor’s Affidavit4). f 22. The letter also notified



4 Letter dated July 2, 2020, from Stephen J. Nolan, Esquire addressed to Recleim Nova, LLC and

                                                 -8-
Case 1:21-cv-00020-MN Document 2 Filed 09/23/20 Page 9 of 13 PageID #: 74
    Case 1:20-cv-02773-RDB Document 1-2 Filed 09/23/20 Page 9 of 13




Recleim Nova that conveyances made or created by it were in violation of the Maryland Uniform

Fraudulent Conveyances Act and the Delaware Uniform Fraudulent Transfer Act. Id. Demand

was made for Recleim Nova to provide Nova Services’ attorneys with a complete description of

all conveyances made by, and all property received by Recleim from, Recleim Nova so that

arrangements could be made for the return of all such property. Id.

       25.     As of July 31, 2020, Recleim Nova has failed to furnish Nova Services’ attorneys

with a response to their July 2, 2020 letter. 23.

       26.     Nova Services’ attorneys also sent a letter on behalf of Nova Services to Blue

Granite Freight, LLC of Graniteville, South Carolina, on July 2, 2020, cautioning it about

accepting conveyances from Recleim Nova or transferring to third parties property it received

from Recleim Nova. If 24. Upon information and belief, Blue Granite Freight, LLC is affiliated

with Blue Granite Logistics, LLC and controlled by Pete Davis or Peachtree. Id. As of July 31,

2020, Nova Services’ attorneys have not received a response from Blue Granite Freight, LLC. Id.

       27.     Having already removed 20 van trailers to Philadelphia, Recleim Nova is likely to

assign, dispose of, conceal, or remove the following property or a portion of it from the state of

Maryland with the intent to defraud Nova Services and its other creditors:

               CAT 320 Excavator with an approximate value of $15,000.00
               Volvo LI20 Loader with an approximate value of $20,000.00
               1 Horizontal baler with an approximate value of $25,000.00
               1 Horizontal baler with an approximate value of $10,000.00
               At least 10 Downstroke balers with an approximate value of $2,000.00 each
               1 Shear Shredder with an approximate value of $10,000.00
               2 Styrofoam densifiers with an approximate value of $10,000.00 each. If 25.

       28.     The above-described property is located in a part of the warehouse and storage

space previously leased by Recleim Nova at 2500 Grays Road, Dundalk, Maryland. Recleim



Mr. Pete Davis, Manager.

                                                -9-
     Case 1:21-cv-00020-MN Document 2 Filed 09/23/20 Page 10 of 13 PageID #: 75
!*
         Case 1:20-cv-02773-RDB Document 1-2 Filed 09/23/20 Page 10 of 13




     Nova owes its former landlord over $167,882.23 of unpaid rent according to a Petition filed in

     the District Court of Maryland for Baltimore County on July 21, 2020. ^ 26.

             29.     As established by facts contained in the Affidavit of Guy T. Naylor, Plaintiff

     Nova Services will sustain immediate, substantial and irreparable harm unless this Court grants

     relief necessary to prevent the Defendants from removing the property described in paragraph 27

     out of the State of Maryland.

             30.     As the direct and proximate result of the intentional and fraudulent acts of the

     Defendants, Plaintiff Nova Services has sustained damages and losses in excess of the

     $3,449,567.71 that Recleim Nova owes under to the May 5, 2017 Asset Purchase Agreement.

                                             COUNT ONE
            (Action Against All Defendants to Set Aside and Annul Fraudulent Conveyances)

             31.     Plaintiff Nova Services Inc hereby incorporates by reference the statements

      contained in Paragraphs 1 through 30 as if the same were fully set forth in this First Count.

             32.     As defined in CL § 15-201, “‘Conveyance’ includes every payment of money,

     assignment, release, transfer, lease, mortgage, or pledge of tangible or intangible property, and

     also the creation of any lien or encumbrance.”

             33.     Before and after Pete Davis and Defendant Recleim caused Blue Granite

     Logistics, LLC to be formed in February 2020 and in violation of CL § 15-204, Defendants, and

     each of them, engaged and/or participated in fraudulent conveyances relating to Reclaim Nova’s

     assets, without fair consideration and/or when either Recleim Nova was insolvent or it was

     rendered insolvent as a result of such transfers.

             34.     Before and after Pete Davis and Defendant Recleim caused Blue Granite

     Logistics, LLC to be formed in February 2020 and in violation of CL § 15-205, Defendants, and

     each of them, engaged and/or participated in fraudulent conveyances relating to Reclaim Nova’s


                                                      -10-
Case 1:21-cv-00020-MN Document 2 Filed 09/23/20 Page 11 of 13 PageID #: 76
    Case 1:20-cv-02773-RDB Document 1-2 Filed 09/23/20 Page 11 of 13




assets, as a result of which transaction the property remaining in the hands of Recleim Nova was

an unreasonably small capital.

        35.    Before and after Pete Davis and Defendant Recleim caused Blue Granite

Logistics, LLC to be formed in February 2020 and in violation of CL § 15-206, Defendants, and

each of them, engaged and/or participated in fraudulent conveyances relating to Reclaim Nova’s

assets and/or incurred obligations, without fair consideration, and/or Defendants either knew or

should have known that burdening Recleim Nova with such obligations was fraudulent as to

Nova Services because such obligations were beyond Recleim Nova’s ability to pay them as they

matured.

       36      Defendant Blue Granite Logistics, LLC is neither a bona fide purchaser of

Recleim Nova’s assets nor a bona fide creditor of Recleim Nova, because all transactions

between Blue Granite and Recleim Nova lacked fair consideration and Blue Granite had

knowledge of the fraud committed by Recleim Nova, Recleim and Pete Davis at the time of Blue

Granite’s purchase of assets or at the time it extended credit to Recleim Nova.

       37.     Defendants, and each of them, engaged and/or participated in fraudulent

conveyances relating to Reclaim Nova’s assets with actual intent to hinder, delay and defraud

Nova Services in violation of CL § 15-207.

       WHEREFORE, this action is brought and the Plaintiff, Nova Services Inc., prays that

judgment be entered in its favor and against the Defendants, Recleim Nova, LLC, Recleim LLC

and Blue Granite Logistics, LLC, setting aside and annulling all such conveyances, and appoint a

receiver or trustee to carry out such actions as the Court deems necessary to implement its

judgment, and award the Plaintiff compensatory damages in excess of Seventy-Five Thousand

Dollars ($75,000.00), plus post-judgment interest and costs.




                                               -11-
Case 1:21-cv-00020-MN Document 2 Filed 09/23/20 Page 12 of 13 PageID #: 77
    Case 1:20-cv-02773-RDB Document 1-2 Filed 09/23/20 Page 12 of 13




                                         COUNT TWO
               (Breach of Contract Action v. Defendants Recleim and Recleim Nova)

       38.       Plaintiff Nova Services Inc hereby incorporates by reference the statements

contained in Paragraphs 1 through 30 as if the same were fully set forth in this Second Count.

       39.       Plaintiff duly performed all of its obligations under the Asset Purchase Agreement

described above. Nevertheless, Defendants Recleim and Recleim Nova, without just cause or

excuse, materially breached the APA by failing to pay Nova Services the balance of the purchase

price of $3,449,567.71, by failing to provide Nova Services with audited financial statements for

Recleim Nova for the tax years of 2018 and 2019, and by failing to hold Nova Services harmless

from obligations that Recleim Nova had either assumed or for which it was solely and legally

responsible.

       40.       As a direct and proximate result of said breaches by Defendants Recleim and

Recleim Nova, Plaintiff Nova Services has been caused to sustain losses of more than of

$3,449,567.71.

       WHEREFORE, this action is brought and the Plaintiff, Nova Services Inc., prays that

judgment be entered in its favor and against Defendants Recleim Nova, LLC and Recleim LLC

and award the Plaintiff compensatory damages in excess of Seventy-Five Thousand Dollars

($75,000.00), plus pre- and post-judgment interest and costs.

                                        COUNT THREE
                                 {Fraud Action v. All Defendants)

       41.       Plaintiff Nova Services Inc hereby incorporates by reference the statements

contained in Paragraphs 1 through 30 as if the same were fully set forth in this Third Count.




                                                -12-
Case 1:21-cv-00020-MN Document 2 Filed 09/23/20 Page 13 of 13 PageID #: 78
    Case 1:20-cv-02773-RDB Document 1-2 Filed 09/23/20 Page 13 of 13




       42.     Defendants, and each of them, have acted intentionally and maliciously to defraud

and deceive Nova Services and to hide and conceal Recleim Nova’s assets as described in

paragraphs 21 and 23.

       WHEREFORE, this action is brought and the Plaintiff, Nova Services Inc., prays that

judgment be entered in its favor and against Defendants Recleim Nova, LLC, Recleim LLC and

Blue Granite Logistics, LLC and award the Plaintiff compensatory damages in excess of Seventy-

Five Thousand Dollars ($75,000.00), and punitive damages in excess of Seventy-Five Thousand

Dollars ($75,000.00, plus pre- and post-judgment interest and costs.



August 3, 2020                                         /s/ Michael Paul Smith
                                                      Michael Paul Smith (CPF 9212170165)
                                                      Stephen J. Nolan    (CPF7706010161)
                                                      Carmelo Morabito (CPF 1712140062)
                                                      Smith, Gildea & Schmidt, LLC
                                                      600 Washington Avenue, Suite 200
                                                      Towson, Maryland 21204
                                                      Telephone: 410-821-0070
                                                      Facsimile: 410-821-0071
                                                      mpsmith@sgs-law.com
                                                      snolan@sgs-law.com
                                                      cmorabito@sgs-law.com

                                                      Attorneys for Plaintiff
                                                      Nova Services Inc.




                                               -13-
